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 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                       )       Case No. 2:13-cr-00078-MCE-3
11                                                   )
                                                     )       STIPULATION AND ORDER CONTINUING
            Plaintiff,                               )       STATUS CONFERENCE
12
                                                     )
13   v.                                              )
                                                     )       Date: October 23, 2014
14   LETANAVONE KEOPADUBSY                           )       Time: 9:00 a.m.
                                                     )       Judge: Honorable MORRISON C. ENGLAND
15                                                   )
                                                     )
16
            Defendant.                               )
                                                     )
17                                                   )

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19          IT IS HEREBY STIPULATED by and between the parties hereto through their

20   respective counsel, the undersigned Assistant United States Attorney, attorney for Plaintiff, and

21   the undersigned attorneys for defendants, that the present date for the status conference shall be

22   re calendared for October 23, 2014.

23          Counsel and his client are continuing their review of the discovery provided, conducting

24   legal research and factual development, and engaging in efforts to resolve the case. As such,

25   based upon the foregoing, all counsel and defendants agree that the time under the Speedy Trial

26   Act from the date this stipulation is lodged, through October 23, 2014, should be excluded in

27   computing the time within which trial must commence under the Speedy Trial Act, pursuant to

28   Title 18 U.S.C. § 3161 (H)(7)(B)(iv) and Local Code T4.



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 1   DATED: September 30, 2014. Respectfully submitted,
 2   /s/ Mark J. Reichel
 3   Attorney for defendant
 4

 5   BENJAMIN B. WAGNER
 6   United States Attorney
 7   /s/ Mark J. Reichel for:
 8   PAUL HEMESETH
 9   Assistant U.S. Attorney
10   Attorney for Plaintiff
11

12                                              ORDER
13          For the reasons set forth above, the court finds that there is good cause for the
14   continuance and the exclusion of time, and that the ends of justice served by this continuance
15   outweigh the best interests of the public and the defendant in a speedy trial. Time is excluded
16   pursuant to 18 U.S.C. Section 3161(h)(7). The status conference shall be CONTINUED to
17   October 23, 2014.
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            IT IS SO ORDERED.
19   Dated: October 2, 2014

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